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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Case No. 1:19-cv-01521-WJM-KMT

  AMERICAN CRICKET PREMIER
  LEAGUE, LLC,

                Plaintiff,

  v.

  USA CRICKET, a Colorado Non-Profit Corporation,
  INTERNATIONAL CRICKET COUNCIL,
  WILLOW TV, INC., PARAAG MARATHE,
  AVINASH GAJE, VENU PISIKE,
  ATUL RAI, NADIA GRUNY, ERIC PARTHEN,
  and JOHN DOES 1-10,

                Defendants.



                                  DISCLOSURE STATEMENT

         In compliance with Fed. R. Civ. P. 7.1 and D.C.COLO.LCivR 7.4, the undersigned,

  counsel of record for Defendant USA Cricket, certifies that USA Cricket is a non-profit

  corporation that has no parent corporation and has never issued any stock.

         Respectfully submitted this 3rd day of July 2019.

                                                   MORGAN, LEWIS & BOCKIUS LLP


                                                   By: s/Sujal J. Shah
                                                       Sujal J. Shah

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                                                   Attorneys for Defendants




                                                                          DISCLOSURE STATEMENT
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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on the 3rd day of July 2019, a true and correct copy
  of the foregoing DISCLOSURE STATEMENT was electronically filed and served via the
  CM/ECF system to the following:

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   Attorneys for Plaintiff American Cricket
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                                                    s/Ellen Woodward
                                                    Ellen Woodward




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                                                                           DISCLOSURE STATEMENT
